                   Case: 1:23-cv-00818 Document #: 1 Filed: 02/09/23 Page 1 of 5 PageID #:1
                       Case MDL No. 3060 Document 134 Filed 02/06/23 Page 1 of 5

Filed date: 2/9/2023
Presiding Judge: Mary M. Rowland
Magistrate Judge: Sheila M. Finnegan
Lead Case No. 23-cv-818                  UNITED STATES JUDICIAL PANEL
PH                                                    on
                                          MULTIDISTRICT LITIGATION


            IN RE: HAIR RELAXER MARKETING, SALES PRACTICES,
            AND PRODUCTS LIABILITY LITIGATION                                                    MDL No. 3060


                                                  TRANSFER ORDER


                     Before the Panel: Plaintiffs in four actions pending in the Northern District of Illinois and
            the Northern District of California move under 28 U.S.C. § 1407 to centralize this litigation in the
            Northern District of Illinois. The litigation consists of nine actions pending in four districts, as
            listed on Schedule A. Since the filing of the motion, the Panel has been notified of 44 related
            federal actions pending in an additional fifteen districts. 1 Plaintiff in the Northern District of
            Illinois Smith action supports the motion. Plaintiffs in twenty-four potential tag-along actions filed
            briefs or Notices of Presentation or Waiver of Oral Argument supporting centralization and
            variously suggesting the Northern District of Illinois, the Western District of Missouri, the
            Southern District of Ohio, the Eastern District of New York, the Southern District of New York,
            the Central District of California, the Northern District of California, or the District of South
            Carolina as the transferee district. All of them, however, indicated in their filings or at oral
            argument that they support or do not oppose transfer to the Northern District of Illinois at least in
            the alternative. All responding defendants 2 oppose the motion but, in the event of centralization,
            request centralization in the Southern District of New York or, alternatively, in the Northern
            District of Illinois.

                     On the basis of the papers filed and the hearing session held, we find that these actions
            involve common questions of fact, and that centralization in the Northern District of Illinois will
            serve the convenience of the parties and witnesses and promote the just and efficient conduct of
            this litigation. On October 17, 2022, a study led by the National Institutes of Health (NIH) reported
            findings that women who frequently used chemical hair straightening or hair relaxer products were


            1
              These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1
            and 7.2.
            2
              Four sets of defendants responded to the motion: L’Oréal USA, Inc., L’Oréal USA Products,
            Inc., SoftSheen-Carson LLC, and SoftSheen-Carson (W.I.), Inc. (collectively, the L’Oréal
            defendants); Dabur International Ltd. and Namasté Laboratories, LLC; Strength of Nature, LLC,
            Strength of Nature Global, LLC, and Godrej SON Holdings, Inc.; and House of Cheatham. Two
            additional defendants named in certain of the actions, PDC Brands and Parfums de Coeur, Ltd.,
            did not enter an appearance.
       Case:
           Case
             1:23-cv-00818
                 MDL No. 3060
                           Document
                               Document
                                    #: 1 Filed:
                                          134 02/09/23
                                                Filed 02/06/23
                                                         Page 2 Page
                                                                of 5 PageID
                                                                      2 of 5 #:2




                                                  -2-


more than twice as likely to develop uterine cancer as women who did not use such products.
These actions, filed shortly thereafter, share common questions of fact arising from allegations
that defendants’ hair relaxer products contain phthalates, including di-2-ethylhexylphthalate, or
other endocrine-disrupting chemicals (EDCs), and that the use of such products caused or
increased the risk of developing uterine, ovarian, or breast cancer, endometriosis, uterine fibroids,
or other injuries to the reproductive system. All actions share common issues of fact regarding
whether exposure to phthalates or other EDCs causes injury to the reproductive system, whether
and when defendants knew or should have known of the alleged risks posed by hair relaxer
products, and whether defendants engaged in adequate testing and post-market surveillance.
Plaintiffs assert overlapping products liability claims and consumer protection claims.

        Centralization will obviate the risk of duplicative discovery and inconsistent rulings on
pretrial issues such as what level of exposure to phthalates or other EDCs poses a risk of
reproductive injury, and what obligation, if any, defendants had to disclose the presence of such
chemicals in their hair relaxer products. The parties in all actions are likely to use many of the
same experts, particularly with respect to the risks of exposure to phthalates and other EDCs.
Centralization will minimize duplication of this expert discovery as well as pretrial motion practice
related to expert issues. It also will prevent inconsistent rulings with respect to class certification. 3

         Defendants argue that the actions involve numerous disparate questions of fact and that
centralization will provide few efficiencies. They point out that the actions name multiple
competing defendants who manufactured and sold different lines of hair relaxer products, and that
plaintiffs allege multiple different injuries. They contend as well that plaintiffs have not identified
a single EDC common to all hair relaxer products that is alleged to have caused the injuries at
issue. We acknowledge that, to some extent, the claims against the various defendants may turn
on facts specific to the defendants and their products, and that in some instances we have been
hesitant to centralize litigation against competing defendants that marketed, manufactured, and
sold similar products. In the circumstances presented here, however, we conclude that
centralization will allow this litigation to be managed most efficiently and will best serve the
convenience of the parties, witnesses, and courts. Since the filing of the motion, this litigation has
grown from nine actions pending in four districts to 53 involved actions in nineteen districts. Most
of the actions name multiple sets of defendants, and nearly all name the L’Oréal defendants. In
addition, most plaintiffs allege exposure to multiple different product lines. According to movants,
this is because women who use hair relaxers typically use different product lines over the course
of their lives; hence, any future related actions are likely to involve multiple defendants and
product lines as well. As such, declining to centralize this litigation would not resolve the
complexities presented by managing cases involving multiple defendants and products; rather,
judges in nineteen (or more) different districts would be required to manage such cases, while
addressing overlapping parties, facts, and claims. See In re January 2021 Short Squeeze Trading
Litig., MDL No. 2989, 2021 WL 1258399, at *3 (J.P.M.L. Apr. 2, 2021) (noting that denying

3
 While there is only one putative class action included in the motion, there are eight class actions
among the potential tag-along actions. All nine are on behalf of overlapping putative classes.
      Case:
          Case
            1:23-cv-00818
                MDL No. 3060
                          Document
                              Document
                                   #: 1 Filed:
                                         134 02/09/23
                                               Filed 02/06/23
                                                        Page 3 Page
                                                               of 5 PageID
                                                                     3 of 5 #:3




                                                -3-


centralization would not alleviate trade secret or confidentiality concerns where multiple
defendants are named in many of the involved cases); In re ARC Airbag Inflators Prods. Liab.
Litig., MDL No. 3051, 2022 WL 17843061, at *2 (J.P.M.L. Dec. 15, 2022) (same).

        Our decision here is in keeping with past decisions in similar circumstances. For example,
in In re Androgel Products Liability Litigation, 24 F. Supp. 3d 1378 (J.P.M.L. 2014), we
centralized actions against multiple competing manufacturers, noting that, “in the actions and
potential tag-along actions already filed, a number of plaintiffs used more than one testosterone
replacement therapy,” and that centralization of only certain claims or the attempt to separate
claims against separate manufacturers would “prove too procedurally complicated” and in any
event “might result in a de facto industry-wide centralization as cases involving multiple drugs
become part of the MDL.” Id. at 1379. See also In re Incretin Mimetics Prods. Liab. Litig., 968
F. Supp. 2d 1345, 1346 (J.P.M.L. 2013) (centralizing actions against competing manufacturers of
four similar diabetes drugs that allegedly caused pancreatic cancer where “[s]everal plaintiffs took
more than one of the drugs at issue”). 4

        We conclude that the Northern District of Illinois is an appropriate transferee district.
Sixteen of the involved actions are pending there and the district is not opposed or is supported, at
least in the alternative, by all responding plaintiffs and is supported, in the alternative, by all
responding defendants. The Honorable Mary M. Rowland, to whom we assign the litigation,
presides over two of the involved actions and is a highly capable jurist with the ability and
willingness to manage the proceedings efficiently. We are confident that she will steer this matter
on a prudent course.




4
  No party has suggested that the Panel create defendant-specific MDLs, nor would that appear to
be a workable option. Plaintiffs assert indivisible claims against the defendants, and it would be
impossible to sever the claims against the various defendants and transfer them to separate MDLs.
      Case:
          Case
            1:23-cv-00818
                MDL No. 3060
                          Document
                              Document
                                   #: 1 Filed:
                                         134 02/09/23
                                               Filed 02/06/23
                                                        Page 4 Page
                                                               of 5 PageID
                                                                     4 of 5 #:4




                                               -4-


        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of Illinois are transferred to the Northern District of Illinois and, with the
consent of that court, assigned to the Honorable Mary M. Rowland for coordinated or consolidated
pretrial proceedings.


                                          PANEL ON MULTIDISTRICT LITIGATION




                                                          Karen K. Caldwell
                                                              Chair

                                      Nathaniel M. Gorton                Matthew F. Kennelly
                                      David C. Norton                    Roger T. Benitez
                                      Dale A. Kimball                    Madeline Cox Arleo
              Case:
                  Case
                    1:23-cv-00818
                        MDL No. 3060
                                  Document
                                      Document
                                           #: 1 Filed:
                                                 134 02/09/23
                                                       Filed 02/06/23
                                                                Page 5 Page
                                                                       of 5 PageID
                                                                             5 of 5 #:5




          IN RE: HAIR RELAXER MARKETING, SALES PRACTICES,
          AND PRODUCTS LIABILITY LITIGATION                                    MDL No. 3060


                                              SCHEDULE A


                           Northern District of California

1:23-cv-821    BHONOPHA v. L'OREAL U.S.A., INC., ET AL., C.A. No. 3:22−06395

                           Southern District of Georgia

1:23-cv-823    GAMBLE v. STRENGTH OF NATURE GLOBAL, LLC, ET AL., C.A. No. 4:22−00256
1:23-cv-825    LEE v. STRENGTH OF NATURE GLOBAL, LLC, ET AL., C.A. No. 4:22−00257

                           Northern District of Illinois

               MITCHELL v. L'OREAL USA, INC., ET AL., C.A. No. 1:22−05815
               GORDON v. L'OREAL USA, INC., ET AL., C.A. No. 1:22−06033
               SMITH v. L'OREAL USA, INC., C.A. No. 1:22−06047
               WILLIAMS, ET AL. v. L'OREAL USA, INC., ET AL., C.A. No. 1:22−06110
               GRANT v. L'OREAL USA, INC., C.A. No. 1:22−06113

                           Southern District of New York

1:23-cv-827    TERRELL v. REVLON CONSUMER PRODUCTS CORP., ET AL.,
                    C.A. No. 1:22−09008
